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                        UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

   In Re:                                          Case No. 1:20-bk-10867

   MICHELLE M. BASHAM,                             Chapter 13

                          Debtor.                  JUDGE: Buchanan

   MICHELLE M. BASHAM,                             Adv. Proc. No. 1:23-ap-01007

                         Plaintiff,

      vs.

   EDUCATIONAL CREDIT
   MANAGEMENT CORPORATION,
   UNITED STATES DEPARTMENT OF
   EDUCATION,

                        Defendants.

                                 STIPULATED JUDGMENT

            IT IS HEREBY STIPULATED by and between Michelle M. Basham

   (“Plaintiff”), and Educational Credit Management Corporation (“ECMC”), the following

   facts are true and that judgment be entered in this matter as follows:

            1.    Plaintiff executed a Master Promissory Note (the “Note One”) on or about

   August 26, 2005, under which one federally guaranteed Stafford loan was disbursed. The
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   loan was disbursed on October 25, 2005, in the amount of $1,400.00. The loan holds a

   7.76% variable interest rate.

         2.       Plaintiff executed a second Master Promissory Note (the “Note Two”) on

   or about August 14, 2007, under which two federally guaranteed Stafford loans were

   disbursed. The first loan was disbursed on August 27, 2007, in the amount of $1,776.25.

   The second loan was disbursed on August 27, 2007, in the amount of $2,030.00. The

   loans hold a 6.8% fixed interest rate. Note One and Note Two are collectively referred to

   herein as the “Notes.” There are no other notes given by the Plaintiff and held or

   guaranteed by ECMC.

         3.       The Notes evidence student loans made to Plaintiff under a program

   funded in whole or in part by a governmental unit within the meaning of 11 U.S.C. §

   523(a)(8). The program, referred to as the Federal Family Educational Loan Program

   ((“FFELP”), formerly known as the Guaranteed Student Loan Program), was established

   by the Higher Education Act of 1965, as codified at 20 U.S.C. § 1071 et seq.

         4.       ECMC is a private, nonprofit corporation and a guaranty agency under the

   FFELP. ECMC is a Minnesota corporation with its principal place of business located at

   111 Washington Avenue South, Suite 1400, Minneapolis, MN 55401.

         5.       ECMC currently holds all right, title and interest in the Notes.

         6.       Plaintiff is a 49-year-old individual who has one dependent and is

   currently employed.

         7.       Plaintiff alleges that repayment of her student loan obligation would cause

   an undue hardship for herself and her dependent.

         8.       The unpaid balance of the Notes is $9,752.09 as of January 30, 2024.
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         STIPULATION

          9.      Plaintiff and ECMC agree to a settlement of this adversary proceeding on

   the following terms:

                  (a)      Plaintiff will pay and ECMC will accept a lump sum payment of
                           $3,500.00 as satisfaction in full of any and all amounts due and
                           owing relative to the Notes. Said payment shall be made no later
                           than April 1, 2024.

                  (b)      Within 60 days of the receipt and verification of this sum, ECMC
                           shall send to Plaintiff notification that the Notes have been
                           satisfied in full.

                  (c)      Any balance due and owing or claimed due and owing after
                           application of the lump sum payment to Plaintiff’s account balance
                           with ECMC will be deemed discharged in bankruptcy.



          10.     Upon compliance with and completion of the terms of this Stipulation,

   Plaintiff’s liability under the Notes described herein shall be deemed satisfied, and any

   remaining balance due under the original terms of the Notes will be discharged. Upon

   discharge, ECMC will execute and deliver a full, final and complete release of liability

   from the sums owed under the Notes described herein.

          11.     The check shall be made payable to ECMC shall be addressed and mailed

   to:

                           ECMC
                           NW Lockbox #8682
                           P.O. Box 16478
                           St. Paul, MN 55116-0478

          12.     If payment is not received by April 1, 2024, then Plaintiff shall be in

   default and all of the original terms of the Notes shall again be in effect. If any one or

   more terms or provisions of this Stipulation is/are held to be unenforceable, the remaining
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   terms and provisions shall remain in full force and effect and shall be construed as if the

   unenforceable provisions had never been contained in this Stipulation.

          13.      Any amendment, modification, or waiver of any term or condition of this

   Stipulation must be made in writing and signed by all parties hereto. Any attempted oral

   or implied amendment, modification or waiver shall be null and void.

          14.      Except as provided in this Stipulation, all other terms of the Notes remain

   in effect and are hereby incorporated by reference. To the extent that the terms of the

   Notes conflict with the terms of this Stipulation, the terms in this Stipulation control.

          15.      The parties of this Stipulation acknowledge that they have been

   represented by independent counsel of their own choice or have had independent counsel

   available to them throughout all of the negotiations that have preceded the execution of

   this Stipulation.

          16.      This Stipulation and any attachments that are incorporated herein

   constitute the entire agreement of the parties.

          17.      Each person signing this Stipulation warrants that he/she is fully

   authorized to sign this Stipulation on his/her behalf and on behalf of his/her respective

   predecessors, transferors and/or assignors and that the Stipulation is therefore, binding

   upon and enforceable against the same.

          18.      This Stipulation is binding upon and shall inure to the benefit of the

   parties hereto, their respective heirs, executors, administrators, predecessors, successors

   and assigns.

          19.      Each party hereto agrees to bear his/her own costs, expenses and attorney's

   fees in connection with the aforementioned lawsuit and claims.
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         20.      All notices sent to Plaintiff pursuant to this Stipulation shall be sent by

   U.S. Mail, postage paid:

                            Michelle Basham
                            1200 Sycamore Estate Dr.
                            Apt 401
                            Lawrenceburg, IN 47025

         21.      Plaintiff will use the following contact information for all contact with

   ECMC related to this Stipulation:

                            ECMC
                            Attention: Legal Department
                            P.O. Box 64909
                            St. Paul, MN 55164-0909

                            Email: stipulations@ecmc.org

                            Phone: (800) 276-0366, option 2

         22.      The parties to this Stipulation certify that they have read and fully

   understand its terms.

   SO STIPULATED.

   Dated: 2/29/24                                /s/ Michelle M. Basham
                                                 Michelle M. Basham
                                                 Plaintiff
                                                 1200 Sycamore Estate Dr.
                                                 Apt 401
                                                 Lawrenceburg, IN 47025



   Dated: 2/29/2024                              /s/ Paul J Minnillo
                                                 Paul J Minnillo (0065744)
                                                 Minnillo Law Group
                                                 Attorney for Plaintiff
                                                 2712 Observatory Ave
                                                 Cincinnati, OH 45208
                                                 (513) 723-1600
                                                 pjm@mlg-lpa.com
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                                             EDUCATIONAL CREDIT
                                             MANAGEMENT CORPORATION




   Dated: 2/29/2024                          /s/ Bryan J. Sisto /s/ Paul J. Minnillo per
                                             email authority on 2/29/24
                                             Bryan J. Sisto (OH 0088143)
                                             FROST BROWN TODD LLP
                                             400 W. Market St., Suite 3200
                                             Louisville, KY 40059
                                             Telephone: 502-589-5400
                                             Email: bsisto@fbtlaw.com
                                             Counsel for Defendant Educational Credit
                                             Management Corporation



   Copies to:   Paul J. Minnillo, Esq. via ECF
                Bryan J. Sisto, Esq. via ECF
